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15 (SINGAPORE) PTE. LTD., AVAGO TECHNOLOGIES TRADING LTD., AND
   AVAGO TECHNOLOGIES INTERNATIONAL SALES PTE. LTD.
16
                                 UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN JOSE DIVISION
19
   AVAGO TECHNOLOGIES U.S. INC.,                Case No.: 5:10-CV-02863-EJD (PSG)
20 AVAGO TECHNOLOGIES GENERAL IP
   (SINGAPORE) PTE. LTD., AVAGO                 DECLARATION OF NANCY STAGG IN
21 TECHNOLOGIES TRADING LTD., AND               SUPPORT OF DEFENDANTS’
   AVAGO TECHNOLOGIES                           ADMINISTRATIVE MOTION TO FILE UNDER
22 INTERNATIONAL SALES PTE. LTD.,               SEAL (D.I. 541) DOCUMENTS IN SUPPORT OF
                                                DEFENDANTS’ MOTION FOR DISCOVERY
23        Plaintiffs,                           SANCTIONS REGARDING PLAINTIFFS’ RULE
                                                30(B)(6) WITNESS
24        v.
25   IPTRONICS INC., MELLANOX
     TECHNOLOGIES DENMARK APS,
26   MELLANOX TECHNOLOGIES, INC., and
     MELLANOX TECHNOLOGIES, LTD.,
27
                  Defendants.
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                    STAGG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
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 1             I, Nancy L. Stagg, hereby declare:
 2             1.       I am an attorney licensed to practice in the State of California and before this Court. I am
 3   a partner at the law firm of Foley & Lardner LLP, and counsel of record for Plaintiffs Avago
 4   Technologies U.S. Inc., Avago Technologies General IP (Singapore) Pte. Ltd., Avago Technologies
 5   Trading Ltd., and Avago Technologies International Sales Pte. Ltd. (collectively, “Avago”), in the
 6   above-entitled action. I have personal knowledge of the facts set forth in this Declaration and, if called
 7   as a witness, I could and would competently testify to the truth of the statements herein.
 8             2.       I file this Declaration in support of Defendants IPtronics, Inc., and Mellanox
 9   Technologies Denmark ApS’ (collectively, “IPtronics”), Administrative Motion To File Documents
10   Under Seal. See D.I. 541.
11             3.       This Court has previously entered a Protective Order in this case. See D.I. 77.
12             4.       On March 17, 2015, Avago produced Ms. Sharon Hall, Senior Segment Marketing
13   Manager, as its Rule 30(b)(6) witness for deposition in response to IPtronics’ Notice of Rule 30(b)(6)
14   Deposition (Re: Non-Patent Claims) (“the Deposition”). I attended and defended the Deposition on
15   behalf of Avago. At the Deposition, given the sensitive and highly confidential information discussed
16   and documents referenced during the Deposition, including Avago’s trade secrets, and other relevant
17   confidential business information inquired of Avago by IPtronics’ counsel, including product pricing,
18   product development, and suppliers and customers, the entire transcript of the Deposition was
19   preliminarily designated as “Highly Confidential – Attorney’s Eyes Only,” under the terms of the
20   existing Protective Order.
21             5.       On March 30, 2015, IPtronics filed a Motion for Discovery Sanctions relating to the
22   Deposition (“Discovery Motion”). See D.I. 541-3 (unredacted motion); 541-4 (redacted motion); 542
23   (same).
24             6.       As part of the Discovery Motion, IPtronics’ counsel filed with the Court the entire 270-
25   plus page Deposition (see Exhibit A to the Declaration of X. Brandwajn, D.I. 541-1; 542-2). See D.I.
26   541-5 (redacted transcript); 541-6 (sealed transcript); 542-2 (redacted transcript); compare with
27   Discovery Motion, D.I. 541-3 (unredacted motion); 541-4 (redacted motion); 542 (same).
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 1           7.         In addition, IPtronics’ counsel submitted as Exhibits C and G, respectively, to the
 2   Declaration of X. Brandwajn, a meet and confer letter dated March 20, 2015, from Mr. Brandwajn to me
 3   (Exhibit C), and Avago’s Trade Secret Designation Pursuant to California Code of Civil Procedure
 4   Section 2019.210 (Exhibit G).        See D.I. 541-7 (redacted letter); 541-8 (unredacted letter); 541-9
 5   (redacted Trade Secret Designation); 541-10 (unredacted Trade Secret Designation).
 6           8.         Regarding Avago’s Trade Secret Designation Pursuant to California Code of Civil
 7   Procedure Section 2019.210 (“TSD”) (Exhibit G to the Brandwajn Declaration):
 8                      a.    The TSD document at Exhibit G was also previously attached as Exhibit 5 to
 9                            Avago’s Fourth Amended and Supplemental Complaint (“FASC”). See D.I. 398
10                            (Chang Declaration Supporting Motion To Seal); 398-11 (Exhibit 5 to Avago’s
11                            FASC).
12                      b.    On September 16, 2014, this Court sealed designated portions of the TSD because
13                            it contained Avago’s trade secrets and other highly confidential information. See
14                            D.I. 404.
15                      c.    On December 10, 2014, the Court granted Avago leave to file its FASC, including
16                            Exhibit 5, the TSD, under seal.        See D.I. 450; see also D.I. 452 – 453
17                            (Administrative Motions Filing FASC under seal).
18                      d.    The TSD contains Avago’s designated trade secrets, as required by California
19                            Code of Civil Procedure Section 2019.210.         Avago’s TSD identifies, with
20                            reasonable particularity, the trade secrets of Avago that it alleges have been
21                            misappropriated by IPtronics. See Brandwajn Declaration, Ex. G [D.I. 541-10]
22                            (Exhibit 5 to Avago’s FASC) (Trade Secret Designation at 1:8-11; 1:13-21; 1:24-
23                            28; 2:1; 2:3-5; 2:9-28; 3:2-28; and 4:1-3).
24                      e.    The public disclosure of those certain portions of Exhibit G to the Brandwajn
25                            Declaration (submitted redacted by IPtronics with its Discovery Motion) would
26                            create a further risk of significant competitive injury and particularized harm to
27                            Avago.
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 1                      f.    Moreover, the redactions in Exhibit G, the TSD, are narrowly tailored to redact
 2                            only Avago’s trade secrets, which have been marked as “Highly Confidential –
 3                            Attorney’s Eyes Only,” pursuant to the Protective Order. As noted above, this
 4                            Court has previously found good cause to seal the same information in Avago’s
 5                            FASC. See D.I. 404. Any information contained in Exhibit 5 to the FASC that is
 6                            not essential to Avago’s trade secrets has already been filed in this action
 7                            unredacted.
 8           9.         Regarding the March 20, 2015, meet-and-confer letter from Mr. Brandwajn to me
 9   (Exhibit C to the Brandwajn Declaration):
10                      a.    Certain portions of Mr. Brandwajn’s letter either discuss or summarize the
11                            testimony from the deposition transcript of Ms. Hall, which was marked as
12                            “Highly Confidential – Attorney’s Eyes Only” during the deposition pursuant to
13                            the Protective Order (D.I. 77).
14                      b.    IPtronics’ counsel spent significant time deposing Ms. Hall on Exhibit 5 to
15                            Avago’s FASC, the Trade Secret Designation, that contains the trade secrets
16                            Avago alleges IPtronics misappropriated.
17                      c.    Because the trade secrets themselves are highly confidential, as this Court already
18                            found (see D.I. 404), the discussions and testimony related to those trade secrets
19                            in certain portions of Mr. Brandwajn’s March 20th letter are also highly
20                            confidential and subject to redaction under the Protective Order.
21                      d.    The redactions in Exhibit C to the Brandwajn Declaration are narrowly tailored so
22                            only portions of Exhibit C that discuss or summarize highly confidential
23                            information from Ms. Hall’s deposition testimony are redacted, and all other
24                            discussion between counsel is left unredacted.         See Ex. C to Brandwajn
25                            Declaration, at 1:13-14; 1:19; 2:1-8; 2:10-13; 2:22-27; 2:29-30; 2:35-40; 3:1-5;
26                            3:22-24; 3:32-35; 4:1-5; 4:9-10; 4:17-20; 4:22-26; 5:2-5; 5:13-15; 5:28-32.
27           10.        Regarding the entire 270-page transcript that IPtronics submitted in support of its
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 1   Discovery Motion (Exhibit A to the Brandwajn Declaration):
 2                      a.   Given the confidential, sensitive, and proprietary nature of the information
 3                           disclosed during the deposition, the entire deposition transcript was designated
 4                           “Highly Confidential – Attorney’s Eyes Only,” pursuant to the Protective Order
 5                           (D.I. 77).
 6                      b.   The scope of Ms. Hall’s deposition was the non-patent claims asserted by Avago
 7                           against IPtronics in Avago’s FASC. Avago’s non-patent claims in the FASC are
 8                           for Violation of the Lanham Act, Misappropriation of Trade Secrets, Unfair
 9                           Competition, Intentional Interference with Prospective Economic Advantage, and
10                           Unjust Enrichment. See D.I. 453 (sealed FASC).
11                      c.   Avago’s Fourth Cause of Action for Violation of California’s Uniform Trade
12                           Secrets Act (California Civil Code section 3426 et seq.) (trade secret
13                           misappropriation claim), and Fourth Cause of Action for Unfair Competition, are
14                           premised on various highly confidential, non-public trade secrets that Avago
15                           alleges IPtronics misappropriated. See D.I. 453, at ¶¶ 111 – 151 (Avago’s sealed
16                           FASC). On September 16, 2014, this Court sealed designated portions of the
17                           FASC because it contained Avago’s trade secrets and other highly confidential
18                           information, including Exhibit 5 to the FASC, as discussed above. See D.I. 404.
19                      d.   Certain portions of Ms. Hall’s testimony concerned the trade secret
20                           misappropriation claims, which in turn necessarily raised the trade secrets
21                           enumerated in Avago’s Trade Secret Designation. See Brandwajn Declaration,
22                           Ex. G [D.I. 541-10] (Exhibit 5 to Avago’s FASC) (Trade Secret Designation at
23                           1:8-11; 1:13-21; 1:24-28; 2:1; 2:3-5; 2:9-28; 3:2-28; and 4:1-3).
24                      e.   The majority of the 270-page deposition transcript involves questions and
25                           testimony related to Avago’s Trade Secret Designations and claims of
26                           misappropriation by IPtronics. See generally Brandwajn Declaration, Ex. A [D.I.
27                           541-6] (deposition transcript), at pp. 9 – 203 (discussing each trade secret in
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 1                           Exhibit 5 to Avago’s FASC). I have reviewed the Deposition transcript in its
 2                           entirety. The specific page ranges in the Deposition citing or otherwise
 3                           referencing the confidential information relating to Avago’s trade secrets and
 4                           misappropriation claims which Avago requests the Court order sealed are at 9:23
 5                           – 34:23; 38:9 – 201:10, as well as the entire Word Index following the testimony
 6                           portions of the Deposition transcript.
 7                      f.   Because the trade secrets themselves are highly confidential, as this Court already
 8                           found (see D.I. 404), the discussions and testimony related to those trade secrets
 9                           in the Deposition are also highly confidential and subject to redaction under the
10                           terms of the existing Protective Order.
11                      g.   In addition, Avago’s FASC made various allegations regarding IPtronics’
12                           allegedly false or misleading marketing or advertising in support of its Second
13                           Cause of Action for a Violation of the Lanham Act and Fourth Cause of Action
14                           for Unfair Competition. Many of these allegations were also filed under seal in
15                           Avago’s FASC. See D.I. 453, at ¶¶ 75 – 110 (Avago’s sealed FASC). On
16                           September 16, 2014, this Court sealed designated portions of the FASC because it
17                           contained various alleged misrepresentations made by IPtronics, which were
18                           confidential and partially premised on documents both Avago and IPtronics
19                           produced during discovery marked “Highly Confidential – Attorney’s Eyes
20                           Only.” See D.I. 404.
21                      h.   During the Deposition, Ms. Hall also testified regarding these alleged false or
22                           misleading marketing or advertising statements, Avago’s investigation, response,
23                           and resulting damages. See generally Brandwajn Declaration, Ex. A [D.I. 541-6]
24                           (deposition transcript), at pp. 215 – 265 (discussing alleged misrepresentations
25                           and the financial and business competition impact on Avago, including sensitive,
26                           confidential business information belonging to Avago and highly confidential,
27                           non-public details concerning Avago’s products). The specific page ranges for
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 1                             testimony related to the Lanham Act and other causes of action relating to the
 2                             advertising misrepresentations and Avago’s damages resulting therefrom which
 3                             Avago requests the Court order sealed are at 215:9 – 221:4; 222:16 – 227:21;
 4                             233:10 – 261:9; 261:19 – 265:6, as well as the entire Word Index following the
 5                             testimony portions of the Deposition transcript.
 6                      i.     Because the Court previously sealed these misrepresentation allegations (see D.I.
 7                             404), the discussions and testimony related to those misrepresentations in the
 8                             Deposition transcript are also confidential and subject to redaction under the
 9                             Protective Order.
10                      j.     The public disclosure of those portions identified above in Exhibit A to the
11                             Brandwajn Declaration (Deposition transcript) would create a further risk of
12                             significant competitive injury and particularized harm to Avago, especially
13                             because Ms. Hall’s testimony elaborated upon and provided further detail to the
14                             trade secrets listed in Avago’s Trade Secret Designation as well as the alleged
15                             advertising misrepresentations made by IPtronics and the effect those advertising
16                             misrepresentations had on Avago and its business.
17                      k.     As a result, and in summary regarding Exhibit A, Avago requests that the
18                             following portions of the Deposition transcript (Exhibit A) be sealed: 9:23 –
19                             34:23; 38:9 – 201:10; 215:9 – 221:4; 222:16 – 227:21; 233:10 – 261:9; 261:19 –
20                             265:6, as well as the entire Word Index of the Deposition transcript.
21           11.        If the Court is not inclined to grant IPtronics’ Motion To Seal for any reason, Avago
22   Avago respectfully requests that the Court: (1) not unseal the entirety of Exhibits A, C, and G to the
23   Brandwajn Declaration for public viewing (but rather order they be removed entirely from the Court
24   docket and replaced with appropriately redacted versions to be supplied by Avago or IPtronics, as
25   discussed below); (2) order IPtronics to replace the current Exhibits A, C, and G to the Brandwajn
26   Declaration with an appropriately redacted versions based on this Declaration. Alternatively, if the
27   Court permits or prefers, and so orders, Avago can file a separate Motion to Seal and provide the Court
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                    STAGG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
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 1   with an appropriately redacted Exhibits A, C, and G.
 2           I declare under penalty of perjury under the laws of the United States of America that the
 3   foregoing is true and correct, and that this Declaration was executed on April 3, 2015, in San Diego,
 4   California.
                                                              By: _____/s/ Nancy L. Stagg__________
 5
                                                                   Nancy L. Stagg
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 1                                       CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that a true and correct copy of the foregoing document has been
 3   served on April 3, 2015 to all counsel of record, who are deemed to have consented to electronic service
 4   via the court’s CM/ECF system per Civil Local Rule 5.1.
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 6                                                              /s/ Nancy L. Stagg
                                                                Nancy L. Stagg
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                    STAGG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO SEAL
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